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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

v. CASE NO, Reyer 7o M35 = cet
a Ws U.S.C. § 371
HEIDI RICHARDS 18 U.S.C. § 2318
a/k/a Heidi Hastings 18 U.S.C. § 1029(a)(2)
a/k/a Heidi Shaffer 18 U.S.C. § 1029(a)(3)
a/k/a Heidi Williams
INDICTMENT
The Grand Jury charges:
COUNT ONE

Conspiracy to Commit an Offense Against the United States
(18 U.S.C. § 371)

A. Introduction
At all times material to this Information:
l. HEIDI RICHARDS (“RICHARDS”) owned TRINITY SOFTWARE
DISTRIBUTION, INC. (“TRINITY”), an e-commerce business located in the
Middle District of Florida that primarily sells software products. TRINITY

previously conducted business as Trinity Liquidations, Inc., and RICHARDS has

used various surnames, including Hastings, Shaffer,-anx uliams.
2. Microsoft Corporation (“Microsoft”) is a Washington corporation with
its principal place of business located at One Microsoft Way, Redmond,

Washington. Microsoft develops markets, distributes, and licenses computer

software programs.

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Bi COMPANY A was a Texas limited liability company that did business
through the Internet and in Round Rock, Texas. COMPANY A was engaged in the
business of marketing, offering, copying, causing others to copy, and/or distributing
purported Microsoft software and related components. COMPANY A is owned by
Unindicted Coconspirator-1.

B. Background on Illicitly Obtained Microsoft Software and Product Keys

A, Microsoft, like other software developers, has critical interests in
protecting its intellectual property. One way in which Microsoft protects its
intellectual property is through the creation and registration of copyrights on their
software products through the United States Copyright Office. Microsoft also
registers trademarks for its products on the principal register of the United States
Patent and Trademark Office (“USPTO”), which under United States trademark law
is the primary registry of trademarks. For example, Microsoft has multiple
registrations on the principal register of the USPTO of the mark “MICROSOFT.”

a Microsoft software programs have included, but are not limited to the
following, many of which are or have been licensed as home, professional or
student/academic versions: home, professional or student/academic versions of
Microsoft Windows 10 Home, Microsoft Windows 10 Pro, Microsoft Office 365
Personal Retail, Microsoft Office 2019 Home and Student, and Microsoft Office
2021 Home and Business. Microsoft Office often comprises bundled versions of
Microsoft Visio, Microsoft PowerPoint, Microsoft Access, Microsoft Excel, and

Microsoft Word, among others.
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6. Software that is distributed by Microsoft on physical media to its
intended customers or authorized distributors (whether it is boxed for retail or
accompanies a computer or computer hardware) will be distributed with a Certificate
of Authenticity (“COA”) label, documentation, or packaging designed to be affixed
to, enclosing, or accompanying the physical media, or to a computer or computer
hardware that contains the copy of the copyrighted computer program. These labels,
documentation, and packaging are distributed along with copies of the copyrighted
computer programs to demonstrate that the copy of the computer program is
genuine, and to signal the authorized transfer of a license to the intended end user
that its use is non-infringing.

7. Microsoft also distributes their software products using a variety of
distribution channels. One method of distribution employed by Microsoft is via
digital download. There are a limited number of sites where customers can legally
purchase digital downloads of Microsoft software. Customers may purchase digital
downloads of Microsoft software directly from these companies, or only through
authorized retailers, or its authorized retail partners provide an Internet link that
allows the customer to download a copy of the software, which is then unlocked
through the entry of a product key code or serial number, as described below.

8. Software developers license the use of their copyrighted computer
programs to an end user. The terms of the license will vary substantially based upon
the context in which the software is to be used (for example, home, academic, or
enterprise), the number of licenses being purchased, the geographic location of the

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purchaser, the number of activations allowed under the license, as well as other
factors, and the associated price of the license may vary substantially based on these
factors. Software licenses may also be issued in volume to manufacturers of
computers and related computer hardware which allows those manufacturers to
include the software with the computer or computer hardware at the time of
purchase. When preinstalled on or included with a prebuilt computer or with
computer hardware, these software licenses are called original equipment
manufacturer (“OEM”) licenses. RICHARDS, doing business as TRINITY, and
COMPANY A are not direct Microsoft Original Equipment Manufacturers.

9, In order to ensure that a copy of a computer program may be
appropriately installed and used in accordance with its license terms, software
companies such as Microsoft have employed the use of a product key code or serial
number to register and authenticate a software product upon installation. This
product key code or serial number is a unique alphanumeric code that corresponds
with a specific license and the distinctive associated terms and limitations of that
license, such as the type of software program it was intended to be used with, nature
of the license, and number of activations, among many other characteristics.

10. During the installation and activation process, the intended user’s
computer accesses Microsoft servers to register this software program and check the
product key code relative to the distinctive characteristics associated with its specific

license. Assuming it then passes this verification process, this product key code

unlocks the functionality of the software associated with the license that the licensee

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has acquired. Depending upon the terms of the associated license, a specific product
key code may allow a limited number of computers on which the licensee may
unlock the software, or the use of this software may be otherwise temporally limited
based on the nature of this license (if it is a trial license or subscription license).
Microsoft may block the product key code or serial number if it has been used to
activate too many copies of the software or has been identified as stolen. If the
product key code or serial number is rejected by the company servers, the software
program will not operate.

11. Product keys, in particular, may be illicitly obtained via fraud, including
through vulnerabilities in Microsoft’s supply chain. These product keys are
identifiable as fraudulent based on indicators such as bulk distribution without
accompanying COAs, sequential key codes (product keys are created, but not
distributed, in sequential order), and sale prices far below the manufacturer’s
suggested retail price (“MSRP”).

12. When engaging in the business of purchasing these bulk and illicit
product keys, wholesalers and retailers are made aware of the badges of fraud
making the authenticity of these product keys doubtful. First, unlike Microsoft’s
distribution methods, these wholesalers distribute product keys in bulk via email,
spreadsheet, and/or counterfeit COAs. Second, these product keys are sold at
unrealistic discounts, and often from foreign individuals. Third, these retailers are
frequently contacted by customers unable to activate purchased product keys.
Similarly, retailers often test product keys and contact wholesalers about those that

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do not work. Fourth, many of the product keys obtained and distributed by these
wholesalers and retailers were intended for specific uses such as academic or OEM
(it is common for retailers to request specific types of keys from wholesalers based on
the expected distribution channel, such as OEM keys for sales to system builders).
Finally, companies like Microsoft make attempts to identify retailers selling illicitly
obtained products and, once identified, send cease-and-desist (“C&D”) letters
describing the illegal conduct.

13. RICHARDS, doing business as TRINITY, and COMPANY A are not
Microsoft Authorized Refurbishers (“MARs”). MARs are authorized to resell
refurbisher licenses to downstream resellers, who are allowed to refurbish a device,
affix the license to the device in question, and resell it. In order to distribute
Microsoft refurbisher software to an end user, the MAR or downstream reseller must
affix either a MAR COA label or a MAR Genuine Microsoft Label to the device on
which the software is installed. Downstream resellers are not authorized to resell the
COA labels on a “standalone basis,” separate from a refurbished device installed
with the software they were intended to authenticate.

14. The only authorized method of downstream distribution for a Windows
OEM COA is affixed to the computer on which the software was installed or with
the complete, sealed OEM package including the COA label and license. The labels
may not be sold on a “standalone” basis separated from the software they were

intended to authenticate.
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15. Inor around April 2017, Microsoft filed a civil complaint against
COMPANY A in the U.S. District Court for the Western District of Texas, alleging,
inter alia, that COMPANY A had sold unauthorized copies of Microsoft software via
internet download and unauthorized product activation keys. Case No. 1:17-cv-
00361-SS (W.D.T.X.).

16.  Inor around October 2017, the U.S. District Court for the Western
District of Texas entered a stipulated permanent injunction, enjoining Company A
from, inter alia, using any “false description which can or is likely to lead the trade or
public or individuals to erroneously believe that any software, component, EULA,
item, or thing has been . . . authorized by or for Microsoft, when such is in fact not
true,” and “assisting, aiding, or abetting any other person or business entity in
engaging in or performing” the same.

C. The Conspiracy

17. Beginning on an unknown date, but at least as early as on or about
August 11, 2017, and continuing until the date of this Indictment, in the Middle
District of Florida, and elsewhere, the defendant,

HEIDI RICHARDS
a/k/a “Heidi Hastings,”
a/k/a “Heidi Shaffer,”
a/k/a “Heidi Williams,”
doing business as TRINITY, did knowingly conspire and agree with Unindicted

Coconspirator-1, doing business as COMPANY A, and others known and unknown

to the Grand Jury, to commit an offense against the United States, that is, to traffic

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in illicit labels designed to be affixed to, enclose, or accompany copies of a computer
program, to wit: Microsoft Windows 10 Pro, in violation of 18 U.S.C. § 2318.
D. Manner and Means
18. The manner and means by which the coconspirators sought to
accomplish the objects of the conspiracy included, among others:

a. It was part of the conspiracy that RICHARDS would and did
obtain unauthorized and illicit COAs and product activation key codes for Microsoft
software programs from a variety of sources in and outside of the United States,
including COMPANY A.

b. It was further a part of the conspiracy that RICHARDS would
and did purchase, sell, traffic, obtain, distribute, or otherwise dispose of standalone
COAs and COA labels bearing product key codes for copies of copyrighted
Microsoft computer programs, despite the prohibition against the sale of COA or
COA labels apart from and not affixed to the computers, computer hardware, or
copies of the computer programs they are intended to accompany.

a. It was further a part of the conspiracy that RICHARDS would
and did cause the product key codes on the COA labels to be transcribed into
spreadsheets, which product key codes were then sold to customers without the
accompanying Microsoft software at prices significantly lower than Manufacturer’s
Suggested Retail Prices.

d. It was further a part of the conspiracy that, in order to further the
objects of the conspiracy, coconspirators would and did perform acts and make

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statements to misrepresent, hide, and conceal, and cause to be misrepresented,
hidden, and concealed, the purpose of the conspiracy and the acts committed in
furtherance thereof.
E. Overt Acts
19. In furtherance of the conspiracy, and to effect the objects thereof, at
least one of the coconspirators committed or caused to be committed the following
overt acts, among others, in the Middle District of Florida and elsewhere:

a. On or about August 11, 2017, Unindicted Coconspirator-1, doing
business as COMPANY A, sent RICHARDS an email with the subject line,
“OFFERS,” and in which he asked RICHARDS if she could “use any of these,”
referring to various Microsoft products, including “100 pce” of “Windows 10 Pro
OEM.”

b. On or about July 24, 2018, RICHARDS, doing business as
TRINITY, purchased from COMPANY A approximately 500 Microsoft Retail
Windows 10 Pro and approximately 300 Windows 10 Home COA labels for
approximately $22,100.

e. On or about August 1, 2018, RICHARDS caused a TRINITY
employee to send an email with the subject line “win 10 keys transcribed” with two
spreadsheets attached—one with the file name “QTY 300 WIN 10 HOME KEYS
07262018” and the other with the file name “OTY 500 WIN 10 PRO KEYS

07262018.”

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d. On or about August 6, 2018, RICHARDS caused a TRINITY
employee to send approximately 20 of the 500 Windows 10 Pro product key codes
that RICHARDS had purchased on July 24, 2018, from COMPANY A, toa
customer in the United Kingdom.

e. On or about May 10, 2022, Unindicted Coconspirator-1, doing
business as COMPANY A, sent RICHARDS an email with the subject line,
“OFFER: Office 2019 Home Student OEM,” and in which he stated, “These are like
the Windows 10 you've been buying with a scratch-off,” and “~1000 pes Office 2019
Home Student OEM $20.00. I can transcribe them if needed as well.”

f. On or about May 16, 2022, Unindicted Coconspirator-1, doing
business as COMPANY A, sent RICHARDS by email “Invoice 3837” for the
purchase of 200 units of Microsoft Office 2019 Home and Business OEM at $80 per
unit, 100 units of Microsoft Office 2019 Home Student Retail at $35 per unit, and
100 units of Microsoft Office 2021 Home Student Retail at $45 per unit, for a total
price of $24,000.

g. On or about May 16, 2022, Unindicted Coconspirator-1, doing
business as COMPANY A, sent RICHARDS by email an Excel spreadsheet titled
“Inv 3837 Trinity Software” that contained approximately 200 Microsoft Office 2019
Home Business OEM product keys, 100 Microsoft Office 2019 Home Student Retail

product keys, and 100 Microsoft Office 2021 Home Student Retail product keys.

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h. On or about May 26, 2022, RICHARDS, doing business as
TRINITY, using accounts maintained in the state of Florida, sent COMPANY Aa
wire transfer and payment of approximately $41,824.

1. On or about November 30, 2022, Unindicted Coconspirator-1,
doing business aa COMPANY A, sent RICHARDS a text message, in which he
stated that he had “31k units” and that he can “send out that 10k tomorrow and hold
however many you want up to 21k.”

1. On or about December 5, 2022, RICHARDS, doing business as
TRINITY, purchased from COMPANY A approximately 4,988 Microsoft Windows
10 Pro COA labels for approximately $99,760.

k. On or about December 5, 2022, RICHARDS, doing business as
TRINITY, purchased from COMPANY A approximately 5,000 additional
Microsoft Windows 10 Pro COA labels for approximately $100,000.

kL On or about December 5, 2022, Unindicted Coconspirator-1,
doing business aa COMPANY A, sent RICHARDS a text message, in which he
stated, “I am sending that package out for priority delivery,” describing it as
“Precious cargo.”

m. Between on or about July 2, 2018, and on or about January 17,
2023, using accounts maintained in the state of Florida and on behalf of TRINITY,
RICHARDS sent wire transfers and payments totaling $5,148,181.50 to bank
accounts maintained by COMPANY A to pay for and acquire software products.

All in violation of 18 U.S.C. § 371.

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COUNT TWO
Trafficking in Illicit Labels
(18 U.S.C. § 2318)

21. Paragraphs 1 through 16 of Count | of this Indictment are hereby
realleged and incorporated by reference as though fully set forth herein.

22. Beginning on or about December 5, 2022, and continuing through on or
about March 8, 2023, in the Middle District of Florida, and elsewhere, the
defendant,

HEIDI RICHARDS
a/k/a “Heidi Hastings,”
a/k/a “Heidi Shaffer,”

a/k/a “Heidi Williams,”
did knowingly traffic in illicit labels affixed to or designed to be affixed to, enclosed
with, and accompanying a copy of a computer program, to wit, Microsoft Windows
10 Pro.

In violation of 18 U.S.C. § 2318.
COUNT THREE
Trafficking in Unauthorized Access Devices

(18 U.S.C. § 1029(a)(2))

23. Paragraphs 1 through 16 of Count 1 of this Indictment are hereby
- realleged and incorporated by reference as though fully set forth herein.

24. Fromon or about January 1, 2020, through on or about December 31,
2020, in the Middle District of Florida, and elsewhere, the defendant,

HEIDI RICHARDS
a/k/a “Heidi Hastings,”

a/k/a “Heidi Shaffer,”
a/k/a “Heidi Williams,”

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knowingly and with intent to defraud, trafficked in unauthorized access devices, that
is, Microsoft product activation keys, and by such conduct obtained a thing of value
totaling $1,000 or more, and such trafficking affected interstate commerce.

In violation of 18 U.S.C. § 1029(a)(2) and (c)(1)(A)(i).

COUNT FOUR
Trafficking in Unauthorized Access Devices
(18 U.S.C. § 1029(a)(2))

25. Paragraphs 1 through 16 of Count 1 of this Indictment are hereby
realleged and incorporated by reference as though fully set forth herein.
26. From on or about January 1, 2022, through on or about December 31,
2022, in the Middle District of Florida, and elsewhere, the defendant,
HEIDI RICHARDS
a/k/a “Heidi Hastings,”
a/k/a “Heidi Shaffer,”
a/k/a “Heidi Williams,”
knowingly and with intent to defraud, trafficked in unauthorized access devices, that
is, Microsoft product activation keys, and by such conduct obtained a thing of value
totaling $1,000 or more, and such trafficking affected interstate commerce.
In violation of 18 U.S.C. § 1029(a)(2) and (c)(1)(A)(i).
COUNT FIVE
Possession of Fifteen or More Unauthorized Access Devices
(18 U.S.C. § 1029(a)(3))
27. Paragraphs 1 through 16 of Count 1 of this Indictment are hereby

realleged and incorporated by reference as though fully set forth herein.

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28. Onor about March 8, 2023, in the Middle District of Florida, and
elsewhere, the defendant,
HEIDI RICHARDS
a/k/a “Heidi Hastings,”
a/k/a “Heidi Shaffer,”
a/k/a “Heidi Williams,”
knowingly and with intent to defraud possessed 15 or more unauthorized access
devices, that is, Microsoft product activation keys, and such possession affected
interstate commerce.
In violation of 18 U.S.C. § 1029(a)(3) and (c)(1)(a)().
FORFEITURE
I, The allegations contained in Counts One through Five are incorporated
by reference for the purpose of alleging forfeiture pursuant to the provisions of 18
U.S.C. § 982(a)(2)(B), 1029(c)(1)(C) and 2323.
2. Upon a conviction of a violation of 18 U.S.C. § 2318, or a conspiracy to
violate 18 U.S.C. § 2318 (18 U.S.C. § 371), the defendant,
HEIDI RICHARDS
a/k/a “Heidi Hastings,”
a/k/a “Heidi Shaffer,”
a/k/a “Heidi Williams,”
shall forfeit to the United States, pursuant to 18 U.S.C. § 2323, all of her right, title,

and interest in:

a. any article, the making or trafficking of, which is prohibited
under section 2318 of this title;

b. any property used, or intended to be used, in any manner or part
to commit or to facilitate the commission of such offense; and

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é. any property constituting or derived from any proceeds obtained
directly or indirectly as a result of the commission of such
offense.

3. Upon conviction of a violation of 18 U.S.C. § 1029, the defendant,
HEIDI RICHARDS
a/k/a “Heidi Hastings,”
a/k/a “Heidi Shaffer,”
a/k/a “Heidi Williams,”
shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(2)(B), any property
constituting, or derived from, proceeds the person obtained directly or indirectly, as a
result of such violation, and pursuant to 18 U.S.C. § 1029(c)(1)(C), any personal
property used or intended to be used to commit the offense.
4. The property to be forfeited includes, but is not limited to, an order of
forfeiture in the amount of at least $242,000, which represents the proceeds obtained
from the offenses.

5. If any of the property described above, as a result of any act or omission

of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;
c has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value;

é. has been commingled with other property which cannot be

divided without difficulty;

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the United States shall be entitled to forfeiture of substitute property under the

provisions of 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. §§ 982(b)(1),

1029(c)(2) and 2323(b).

A TRUE BILL,

oreperson

ROGER B. HANDBERG
United States Attorney

Aine

Risha Asokan
Assistant United States Attorney

By:

| ‘Théed S. Hosid

Trial Attorney
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January 24 No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division

THE UNITED STATES OF AMERICA
VS.

HEIDI RICHARDS
a/k/a Heidi Hastings
a/k/a Heidi Shaffer
a/k/a Heidi Williams

INDICTMENT

Violations: 18 U.S.C. §§ 371, 2318, 1029(a)(2), 1029(a)(3)

A true bill,

—_

Filed in open court this 9th day
of J ee ne
Sarah Tes l Clerk

Bail $

PO 843525

